                                         IN THE
                              UNITED STATES DISTRICT COURT
                                        FOR THE
                              WESTERN DISTRICT OF VIRGINIA
                                   DANVILLE DIVISION

 UNITED STATES OF AMERICA                           :
                                                    :
          V.                                        : Criminal No. 4:18-CR-00012
                                                    :
 DASHAWN ROMEER ANTHONY, ET AL                      :


                                   NOTICE OF APPEARANCE


 To the Clerk of Court and all parties of record:

        Please enter the appearance of Michael J. Newman, Special Assistant United States

 Attorney, as co-counsel in the above-captioned case on behalf of the United States of America.



                                               THOMAS T. CULLEN
                                               UNITED STATES ATTORNEY

                                                /s/ Michael J. Newman
                                               Michael J. Newman (Va. Bar No. 40075)
                                               Special Assistant United States Attorney
                                               255 West Main Street, Room 130
                                               Charlottesville, Virginia 22902




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                                          CERTIFICATE

        I hereby certify that on the 20th day of December 2018, the foregoing notice was filed with

 the Clerk of the Court using the CM/ECF System, which will send notice and constitute service of

 such filing, to counsel of record for the defendant.



                                               /s/ Michael J. Newman
                                               Michael J. Newman
                                               Special Assistant United States Attorney




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